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                                                                                                         EXHIBIT




                                                                                                                        exhibitsticker.com
                                                                                                             2
 1     Robert E. Barnes, pro hoc pending
       Barnes Law
 2     601 South Figueroa Street, Suite 4050
       Los Angeles, CA. 90017                                                                       FILED
 3     213.330.3341                                                                      KENTON CIRCUIT/DISTRICT COURT
       robertbarncs(ii)barneslawllp.com
 4                                                                                              AUG 14 2019
       Kevin L. Murphy
 5     Murphy Landen Jones PLLC
                                                                                        BY.JOHN C. Ml
       2400 Chamber Center Drive, Suite 200
 6     Ft. Mitchell, KY 41017
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 7     KMurphy@mljfirm.com

10                                             KENTON COUNTY CIRCUIT COURT

 9
       JOHN DOES 1 THROUGH 10,                                      Case No.: 19-CI-01351
10
                         Plaintiffs,
11
       VS.                                                                 PLAINTIFFS' AMENDED COMPLAINT
12                                                                               WITH JURY DEMAND
       DEBORAH HAALAND, ANA VIOLET A NAVARRO
13     FLORES, ELIZABETH WARREN, MAGGIE
       HABERMAN, KATHY GRIFFIN, MATTHEW JOHN
14     DOWD, REZA ASLAN, KEVIN M. KRUSE, JEFFREY
       SHAUN KING, ADAM EDELEN, CLARA JEFFERY,
15     AND JODI JACOBSON,

16                       Defendants.

 17                                                      INTRODUCTION

110    A field trip to our nation's capital for a group of minors from Covington, Kentucky turned into a social media

 19    nightmare that changed their futures forever. Several of our Senators, most-famous celebrities, and widely read

20     journalists, collectively used their large social media platforms, perceived higher credibility and public followings to

21     lie and libel minors they never met, based on an event they never witnessed. These defendants called for the kids to

 22    be named and shamed, doxxed and expelled, and invited public retaliation against these minors from a small town in

 23    Kentucky. The defendants circulated false statements about them to millions of people around the world. The

 24    defendants were each individually offered the opportunity to correct, delete, and/or apologize for their false

 25    statements, but each refused, continuing to circulate the false statements about these children to this very day on

 26    their social media platforms they personally control. This suit follows.

 27

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       PLAINTIFFS' AMENDED COMPLAINT WITH JURY DEMAND -1
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 1    NOW COMES John Doe 1 through 10, identified by photograph and video as the "Covington Boys" to those who

 2    know them, and known individually by their friends and acquaintances as the subject of the defamatory statements

 3    complained of herein within this Complaint, bring this suit, by and through their parent and legal guardian, against

 4    U.S. Senator Elizabeth Warren, U.S. Congresswoman Deb Haaland, New York Times lead political reporter Maggie

 5    Haberman, media figure and celebrity Kathy Griffin, ABC analyst Matthew Dowd, former CNN analyst Reza Aslan,

 6    Adam Edelen, Professor Kevin M. Kruse, media analyst Shaun King, Mother Jones editor Clara Jeffery and media

 7    reporter Jodi Jacobson. The plaintiffs repeatedly offered each defendant publicly the opportunity to retract, correct,

 10   or delete their offending and defamatory statements, but each refused, continuing to share their defamatory

 9    comments with the public to this very day. No individual plaintiff seeks damages from any defendant in excess of

 10   the cost of a four-year tuition at the University of Kentucky. Plaintiffs file this Complaint for neither fame nor

 11   fortune; they bring this suit to protect future families from experiencing the nightmare the defendants caused these

 12   kids to experience.

 13                                                          PARTIES

 14       1.   JOHN DOE 1-10, are all minors, who bring this action through their parents, who at all times pertinent,

 15            reside in Kenton County, Kentucky, in and around the area of Covington, Kentucky.

 16       2.   JOHN DOE 1-10 are students who, at all times pertinent, attend Covington Catholic High School in Park

 17            Hills, Kentucky.

110       3.   DEB HAALAND, at all times pertinent, is a natural person of the age of majority, residing in New

 19            Mexico.

 20       4.   ANNA NAVARRO, at all times pertinent, is a natural person of the age of majority, residing in Florida.

 21       5.   ELIZABETH WARREN, at all times pertinent, is a natural person of the age of majority, residing in

 22            Massachusetts.

 23       6.   MAGGIE HABERMAN, at all times pertinent, is a natural person of the age of majority, residing in New

 24            York City.

 25       7.   KATHY GRIFFIN, at all times pertinent, is a natural person of the age of majority, residing in California.

 26       8.   MATTHEW DOWD, at all times pertinent, is a natural person of the age of majority, residing in Texas.

 27       9.   REZA ASLAN, at all times pertinent, is a natural person of the age of majority, residing in California.

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 1       10. KEVIN M. KRUSE, at all times pertinent, is a natural person of the age of majority, residing in New

 2           Jersey.

 3       11. SHAUN KING, at all times pertinent, is a natural person of the age of majority, residing in New York.

 4       12. ADAM EDELEN, at all times pertinent, is a natural person of the age of majority, residing in Kentucky.

 5       13. CLARA JEFFERY, at all times pertinent, is a natural person of the age of majority, residing in California.

 6       14. JODI JACOBSON, at all times pertinent, is a natural person of the age of majority, residing in Maryland.

 7                                                          FACTS

 10
         15. On Friday January 18, 2019, each of the John Does was part of a group of Covington Catholic High School
 9
             students who traveled by bus from Park Hills, Kentucky to Washington D.C. to attend the March for Life.
 10
             None was a public figure or publicly known to much of the world prior to this trip. After attending the
 11
             March for Life, the Plaintiffs were permitted to visit certain sites on their own for a limited period of time.
 12
         16. The chaperones accompanying the Covington Catholic high school students informed the Plaintiffs to meet
 13
             at a set hour to meet the buses to take them home to Kentucky. The site selected by the adults was the
 14
             Lincoln Memorial. When the Covington Boys arrived at the Lincoln Memorial and encountered the Black
 15
             Hebrew Israelites. Members of the Black Hebrew Israelites made offensive statements to the Covington
 16
             Boys, including calling them “incest babies,” “dirty-ass crackers,” and “future school shooters.” Some of
 17
             the Covington Boys asked the chaperones if they could do their school cheers to drown out the Black
110
             Hebrew Israelites.
 19

 20      17. After the interaction with the Black Hebrew Israelites, Native American activist Nathan Phillips

 21          approached the Covington Boys. Phillips approached the Covington Boys from a distance and walked past

 22          clear pathways to the steps to the Lincoln Memorial. The Covington Boys did not move toward Phillips or

 23          otherwise actively approach or surround Phillips, block Phillips, taunt Phillips, or ever chant “build the

 24          wall” at Phillips. The Covington Boys did not interrupt or interfere with any Indigenous People’s March.

 25
         18. Phillips beat on a drum and joined the students as they engaged in school cheers, including the sports cheer
 26
             made famous by the New Zealand rugby team known as the Haka dance that celebrates the tribal traditions
 27
             of the Maori tribe. Several of the students joined with Phillips, and some did so by mirroring the sports
210
      PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 3
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 1           chant of the Florida State Seminole and the Atlanta Braves, with their famous tomahawk chop. No one

 2           voiced any objection to this at the time. Soon after, the students left the Lincoln Memorial without incident

 3           or any apparent controversy beyond being harassed by the notorious Black Hebrew Israelites. What the

 4           Covington Boys did not know is what was happening to them on social media.

 5
         19. As they arrived home, the Covington Boys uncovered a social media lynch mob had formed, advanced by
 6
             prominent politicians, journalists with big-pedigree publications, and social celebrities with large social
 7
             media platforms and public followings. The defendants used the perception of their enhanced credibility to
 10
             make statements about the Covington Boys without disclosing all the relevant facts, omitting critical
 9
             exculpatory facts, and implying many false facts about them. The defendants called for public punishment
 10
             of the Covington Boys, including doxing them, naming and shaming them publicly, that they be “punched
 11
             in the face,” and their expulsion from school. The target of the lynch mob was the Covington Boys, their
 12
             reputation and their future. Each of the statements complained of herein was known by the friends, family
 13
             and associates of each John Doe to be about them individually. Indeed, they were individually identified as
 14
             the subject of the statements complained of herein that they received death threats, hate mail, threatening
 15
             phone calls, threatening emails, and other personal attacks on them each individually. They were known to
 16
             be the subject of the statements complained of herein as they were identified by photo image throughout the
 17
             world, and each of the statements was interpreted by their friends, family and associates as about them
110
             personally.
 19
         20. An accurate video as to what occurred in the incident was available online on Jan. 19 and known to the
 20
             defendants, when Shar Yaqataz Banyamyan, one of the Hebrew Israelites who was present for the
 21
             encounter between Phillips and Nicholas, posted a 1 hour and 46-minute video on Facebook (the
 22
             “Banyamyan Video”). The video made clear the statements made against the Covington Boys were false.
 23

 24      21. At 10:31 a.m. on Jan. 19, Congresswoman DEB HAALAND made the following Tweet of and concerning

 25          the Covington Boys: “This Veteran put his life on the line for our country. The Covington boys’ blatant

 26          display of hate, disrespect, and intolerance is a signal of how common decency has decayed under this

 27          administration. Heartbreaking.” See Exhibit A. Haaland omitted the true facts, and instead implied the

210
      PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 4
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 1           following facts were true in her statements and the links attached thereto with the gist of the false

 2           statements made about the plaintiffs was that the kids interrupted an indigenous march, stopped and

 3           blocked a Native American elder and Vietnam War veteran from continuous participation in that event,

 4           surrounded him in a threatening manner, and taunted him, as a native American elder, with chants of “build

 5           the wall” to mock an elderly native American in the middle of an indigenous march. Each of the statements

 6           complained of herein was known by the friends, family and associates of each John Doe to be about them

 7           individually. Indeed, they were individually identified as the subject of the statements complained of herein

 10          that they received death threats, hate mail, threatening phone calls, threatening emails, and other personal

 9           attacks on them each individually. They were known to be the subject of the statements complained of

 10          herein as they were identified by photo image throughout the world, and each of the statements was

 11          interpreted by their friends, family and associates as about them personally.

 12
         22. At 10:58 a.m. on Jan. 19, CNN contributor ANNA NAVARRO tweeted of and concerning the Covington
 13
             Boys: “Must Watch: Native-American elder taunted by racist MAGA-hat wearing teens, speaks and cries
 14
             for America, the country he defended and sacrificed and wore the uniform for. It is people like Nathan
 15
             Phillips who make America great. Thank you for your dignity, sir.” See Exhibit B. Navarro omitted the true
 16
             fact, and instead implied the following facts were true in her statements and the links attached thereto with
 17
             the gist of the false statements made about the plaintiffs was that the kids interrupted an indigenous march,
110
             stopped and blocked a Native American elder and Vietnam War veteran from continuous participation in
 19
             that event, surrounded him in a threatening manner, and taunted him, as a native American elder, with
 20
             chants of “build the wall” to mock an elderly native American in the middle of an indigenous march. Each
 21
             of the statements complained of herein was known by the friends, family and associates of each John Doe
 22
             to be about them individually. Indeed, they were individually identified as the subject of the statements
 23
             complained of herein that they received death threats, hate mail, threatening phone calls, threatening
 24
             emails, and other personal attacks on them each individually. They were known to be the subject of the
 25
             statements complained of herein as they were identified by photo image throughout the world, and each of
 26
             the statements was interpreted by their friends, family and associates as about them personally.
 27
         23. At 1:08 p.m. on Jan. 19, 2019, SHAUN KING, a writer-in-residence at Harvard Law School's Fair
210
      PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 5
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 1           Punishment Project, made the made the following Tweet of and concerning the Covington Boys: “I am so

 2           deeply grieved and angry by this as young kids in MAGA hats surrounded and mocked a beloved Native

 3           American elder yesterday. When your power is centered in your whiteness, mocking others who are unlike

 4           you makes you feel strong. But it’s weak. And despicable.” See Exhibit C. King omitted the true fact, and

 5           instead implied the following facts were true in his statements and the links attached thereto with the gist of

 6           the false statements made about the plaintiffs was that the kids interrupted an indigenous march, stopped

 7           and blocked a Native American elder and Vietnam War veteran from continuous participation in that event,

 10          surrounded him in a threatening manner, and taunted him, as a native American elder, with chants of “build

 9           the wall” to mock an elderly native American in the middle of an indigenous march. Each of the statements

 10          complained of herein was known by the friends, family and associates of each John Doe to be about them

 11          individually. Indeed, they were individually identified as the subject of the statements complained of herein

 12          that they received death threats, hate mail, threatening phone calls, threatening emails, and other personal

 13          attacks on them each individually. They were known to be the subject of the statements complained of

 14          herein as they were identified by photo image throughout the world, and each of the statements was

 15          interpreted by their friends, family and associates as about them personally.

 16
         24. At 1:14 p.m., ADAM EDELEN, a blue-checkmark-approved Twitter personality, retweeted an article with
 17
             false factual statements about the Covington Boys, and validated the false factual claims of the article by
110
             referring to the kids as “outrageous and abhorrent behavior,” that requires they “read a history book on how
 19
             America’s indigenous people have been treated,” and that they “need to do some serious soul-searching.”
 20
             Edelen omitted the true facts, and instead implied the following facts were true in his statements and the
 21
             links attached thereto with the gist of the false statements made about the plaintiffs was that the kids
 22
             interrupted an indigenous march, stopped and blocked a Native American elder and Vietnam War veteran
 23
             from continuous participation in that event, surrounded him in a threatening manner, and taunted him, as a
 24
             native American elder, with chants of “build the wall” to mock an elderly native American in the middle of
 25
             an indigenous march. Each of the statements complained of herein was known by the friends, family and
 26
             associates of each John Doe to be about them individually. Indeed, they were individually identified as the
 27
             subject of the statements complained of herein that they received death threats, hate mail, threatening phone
210
      PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 6
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 1           calls, threatening emails, and other personal attacks on them each individually. They were known to be the

 2           subject of the statements complained of herein as they were identified by photo image throughout the

 3           world, and each of the statements was interpreted by their friends, family and associates as about them

 4           personally.

 5
         25. At 2:45 p.m. on Jan. 19, New York Times reporter MAGGIE HABERMAN made the following Tweet of
 6
             and concerning the Covington Boys: “When adults stand by and say nothing...” in reference to a retweet
 7
             that Haberman posted by Andrew Ujifusa that said, “In another video from this now-infamous incident
 10
             involving a Native American Vietnam vet, a young person scoffs at the idea of stolen land...” See Exhibits
 9
             D & E. Haberman omitted the true fact, and instead implied the following facts were true in his statements
 10
             and the links attached thereto with the gist of the false statements made about the plaintiffs was that the
 11
             kids interrupted an indigenous march, stopped and blocked a Native American elder and Vietnam War
 12
             veteran from continuous participation in that event, surrounded him in a threatening manner, and taunted
 13
             him, as a native American elder, with chants of “build the wall” to mock an elderly native American in the
 14
             middle of an indigenous march. Each of the statements complained of herein was known by the friends,
 15
             family and associates of each John Doe to be about them individually. Indeed, they were individually
 16
             identified as the subject of the statements complained of herein that they received death threats, hate mail,
 17
             threatening phone calls, threatening emails, and other personal attacks on them each individually. They
110
             were known to be the subject of the statements complained of herein as they were identified by photo
 19
             image throughout the world, and each of the statements was interpreted by their friends, family and
 20
             associates as about them personally.
 21
         26. At 6:04 p.m., former CNN TV personality REZA ASLAN made the following Tweet of and concerning the
 22
             Covington Boys with a picture of fellow Covington student at the Lincoln Memorial: “Honest question.
 23
             Have you ever seen a more punchable face than this kid’s?” See Exhibit F. Aslan omitted the true fact, and
 24
             instead implied the following facts were true in his statements and the links attached thereto with the gist of
 25
             the false statements made about the plaintiffs was that the kids interrupted an indigenous march, stopped
 26
             and blocked a Native American elder and Vietnam War veteran from continuous participation in that event,
 27

210
      PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 7
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 1          surrounded him in a threatening manner, and taunted him, as a native American elder, with chants of “build

 2          the wall” to mock an elderly native American in the middle of an indigenous march. Each of the statements

 3          complained of herein was known by the friends, family and associates of each John Doe to be about them

 4          individually. Indeed, they were individually identified as the subject of the statements complained of herein

 5          that they received death threats, hate mail, threatening phone calls, threatening emails, and other personal

 6          attacks on them each individually. They were known to be the subject of the statements complained of

 7          herein as they were identified by photo image throughout the world, and each of the statements was

 10         interpreted by their friends, family and associates as about them personally.

 9       27. At 6:45 p.m. Congresswoman DEB HAALAND made the following Tweet of and concerning the

 10         Covington Boys: “A Native American War veteran was seen being harassed and mocked by a group of

 11         MAGA hat-wearing teens.” See Exhibit G. Haaland omitted the true fact, and instead implied the following

 12         facts were true in her statements and the links attached thereto with the gist of the false statements made

 13         about the plaintiffs was that the kids interrupted an indigenous march, stopped and blocked a Native

 14         American elder and Vietnam War veteran from continuous participation in that event, surrounded him in a

 15         threatening manner, and taunted him, as a native American elder, with chants of “build the wall” to mock

 16         an elderly native American in the middle of an indigenous march. Each of the statements complained of

 17         herein was known by the friends, family and associates of each John Doe to be about them individually.

110         Indeed, they were individually identified as the subject of the statements complained of herein that they

 19         received death threats, hate mail, threatening phone calls, threatening emails, and other personal attacks on

 20         them each individually. They were known to be the subject of the statements complained of herein as they

 21         were identified by photo image throughout the world, and each of the statements was interpreted by their

 22         friends, family and associates as about them personally.

 23      28. At 7:08 p.m. on Jan. 19, 2019, New York Times reporter MAGGIE HABERMAN (@maggieNYT)

 24         tweeted: “There are dozens of students laughing and egging on the behavior. Will be interesting to see if

 25         anyone is actually expelled, as officials suggest is possible.” See Exhibit H. Haberman omitted the true

 26         fact, and instead implied the following facts were true in her statements and the links attached thereto with

 27         the gist of the false statements made about the plaintiffs was that the kids interrupted an indigenous march,

210
      PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 8
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 1           stopped and blocked a Native American elder and Vietnam War veteran from continuous participation in

 2           that event, surrounded him in a threatening manner, and taunted him, as a native American elder, with

 3           chants of “build the wall” to mock an elderly native American in the middle of an indigenous march. Each

 4           of the statements complained of herein was known by the friends, family and associates of each John Doe

 5           to be about them individually. Indeed, they were individually identified as the subject of the statements

 6           complained of herein that they received death threats, hate mail, threatening phone calls, threatening

 7           emails, and other personal attacks on them each individually. They were known to be the subject of the

 10          statements complained of herein as they were identified by photo image throughout the world, and each of

 9           the statements was interpreted by their friends, family and associates as about them personally.

 10
         29. At 7:15 p.m., on Jan. 19, U.S. Senator ELIZABETH WARREN made the following Tweet of and
 11
             concerning the Covington Boys: “Omaha elder and Vietnam War veteran Nathan Phillips endured hateful
 12
             taunts with dignity and strength, then urged us all to do better.” See Exhibit I. Warren omitted the true
 13
             facts, and instead implied the following facts were true in her statements and the links attached thereto with
 14
             the gist of the false statements made about the plaintiffs was that the kids interrupted an indigenous march,
 15
             stopped and blocked a Native American elder and Vietnam War veteran from continuous participation in
 16
             that event, surrounded him in a threatening manner, and taunted him, as a native American elder, with
 17
             chants of “build the wall” to mock an elderly native American in the middle of an indigenous march. Each
110
             of the statements complained of herein was known by the friends, family and associates of each John Doe
 19
             to be about them individually. Indeed, they were individually identified as the subject of the statements
 20
             complained of herein that they received death threats, hate mail, threatening phone calls, threatening
 21
             emails, and other personal attacks on them each individually. They were known to be the subject of the
 22
             statements complained of herein as they were identified by photo image throughout the world, and each of
 23
             the statements was interpreted by their friends, family and associates as about them personally.
 24
         30. At 2:05 a.m. on Jan. 20 comedienne KATHY GRIFFIN called for the doxing of the Covington Boys,
 25
             which several people then acted upon, linking the Covington Boys to their photos and names, and widely
 26
             circulated on social media: “Ps. The reply from the school was pathetic and impotent. Name these kids. I
 27

210
      PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 9
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 1           want NAMES. Shame them. If you think these fuckers wouldn’t dox you in a heartbeat, think again.” See

 2           Exhibit J. GRIFFIN then requested, five minutes later: “Names please. And stories from people who can

 3           identify them and vouch for their identity. Thank you.” See Exhibit K. Griffin omitted the true facts, and

 4           instead implied the following facts were true in her statements and the links attached thereto with the gist of

 5           the false statements made about the plaintiffs was that the kids interrupted an indigenous march, stopped

 6           and blocked a Native American elder and Vietnam War veteran from continuous participation in that event,

 7           surrounded him in a threatening manner, and taunted him, as a native American elder, with chants of “build

 10          the wall” to mock an elderly native American in the middle of an indigenous march. Each of the statements

 9           complained of herein was known by the friends, family and associates of each John Doe to be about them

 10          individually. Indeed, they were individually identified as the subject of the statements complained of herein

 11          that they received death threats, hate mail, threatening phone calls, threatening emails, and other personal

 12          attacks on them each individually. They were known to be the subject of the statements complained of

 13          herein as they were identified by photo image throughout the world, and each of the statements was

 14          interpreted by their friends, family and associates as about them personally.

 15
          31. At 1:16 p.m. on Jan. 21, Chief Political Analyst for ABC News MATTHEW DOWD made the following
 16
             Tweet of and concerning the Covington Boys: “Folks, let us not let these kids, their parents and their school
 17
             off the hook. Regardless of what led up to this, this is awful.” See Exhibit M. Dowd omitted the true facts,
110
             and instead implied the following facts were true in her statements and the links attached thereto with the
 19
             gist of the false statements made about the plaintiffs was that the kids interrupted an indigenous march,
 20
             stopped and blocked a Native American elder and Vietnam War veteran from continuous participation in
 21
             that event, surrounded him in a threatening manner, and taunted him, as a native American elder, with
 22
             chants of “build the wall” to mock an elderly native American in the middle of an indigenous march. Each
 23
             of the statements complained of herein was known by the friends, family and associates of each John Doe
 24
             to be about them individually. Indeed, they were individually identified as the subject of the statements
 25
             complained of herein that they received death threats, hate mail, threatening phone calls, threatening
 26
             emails, and other personal attacks on them each individually. They were known to be the subject of the
 27
             statements complained of herein as they were identified by photo image throughout the world, and each of
210
       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 10
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 1            the statements was interpreted by their friends, family and associates as about them personally.

 2
          32. At 1:27 p.m. on Jan. 21, CLARA JEFFERY the Editor-in-Chief of Mother Jones magazine, made the
 3
              following Tweet of and concerning the Covington Boys: “The tapes that have emerged do show the BHI
 4
              [Black Hebrew Israelites] doing their usual end-times ranting. But they also show the Covington Catholic
 5
              kids: making cavemen gestures at BHI; tomahawk chanting at Natives; taunting random women; chants of
 6
              "build the wall" and "it's not rape if you enjoy it." See Exhibit N. Jeffery omitted the true facts, and instead
 7
              implied the following facts were true in her statements and the links attached thereto with the gist of the
 10
              false statements made about the plaintiffs was that the kids interrupted an indigenous march, stopped and
 9
              blocked a Native American elder and Vietnam War veteran from continuous participation in that event,
 10
              surrounded him in a threatening manner, and taunted him, as a native American elder, with chants of “build
 11
              the wall” to a Native American elder to taunt him, while also falsely accusing the teens of taunting women
 12
              with the chant “it’s not rape if you enjoy it.” Each of the statements complained of herein was known by
 13
              the friends, family and associates of each John Doe to be about them individually. Indeed, they were
 14
              individually identified as the subject of the statements complained of herein that they received death
 15
              threats, hate mail, threatening phone calls, threatening emails, and other personal attacks on them each
 16
              individually. They were known to be the subject of the statements complained of herein as they were
 17
              identified by photo image throughout the world, and each of the statements was interpreted by their friends,
110
              family and associates as about them personally.
 19
          33. At 5:23 p.m. on Tuesday Jan. 22, 2019, KEVIN M. KRUSE Tweeted: “No, the accusation was that this
 20
              kid and his friends mocked an elderly Native American war veteran and, hey, they did. They also taunted
 21
              women and shouted “it’s not rape if you enjoy it” but sure, they’re the real victims. According to his PR
 22
              firm anyway.” See Exhibit O. Kruse omitted the true facts, and instead implied the following facts were
 23
              true in his statements and the links attached thereto with the gist of the false statements made about the
 24
              plaintiffs was that the kids interrupted an indigenous march, stopped and blocked a Native American elder
 25
              and Vietnam War veteran from continuous participation in that event, surrounded him in a threatening
 26
              manner, and taunted him, as a native American elder, with chants of “build the wall” to a Native American
 27
              elder to taunt him, while also falsely accusing the teens of taunting women with the chant “it’s not rape if
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 1            you enjoy it.” Each of the statements complained of herein was known by the friends, family and associates

 2            of each John Doe to be about them individually. Indeed, they were individually identified as the subject of

 3            the statements complained of herein that they received death threats, hate mail, threatening phone calls,

 4            threatening emails, and other personal attacks on them each individually. They were known to be the

 5            subject of the statements complained of herein as they were identified by photo image throughout the

 6            world, and each of the statements was interpreted by their friends, family and associates as about them

 7            personally.

 10       34. On Jan. 22, 2019, JODI JACOBSON, the president and editor in chief of the website Rewire.News,

 9            authored an article published on Rewire.News titled “White-Washing White Supremacy: Media Rushes to

 10           Excuse Covington Catholic Students.” A true and correct copy of said communication is attached hereto as

 11           Exhibit Q. JACOBSON’S article erroneously claimed Covington Boys wore blackface to caricature black

 12           students, harassed young women at the Memorial (claiming they chanted “it’s not rape if you enjoy it”),

 13           and ridiculed the native American elder for the purposes of harassment. Jacobson omitted the true facts,

 14           and instead implied the following facts were true in her statements and the links attached thereto with the

 15           gist of the false statements made about the plaintiffs was that the kids interrupted an indigenous march,

 16           stopped and blocked a Native American elder and Vietnam War veteran from continuous participation in

 17           that event, surrounded him in a threatening manner, and taunted him, as a native American elder, with

110           chants of “build the wall” to a Native American elder to taunt him, while also falsely accusing the teens of

 19           taunting women with the chant “it’s not rape if you enjoy it.” Each of the statements complained of herein

 20           was known by the friends, family and associates of each John Doe to be about them individually. Indeed,

 21           they were individually identified as the subject of the statements complained of herein that they received

 22           death threats, hate mail, threatening phone calls, threatening emails, and other personal attacks on them

 23           each individually. They were known to be the subject of the statements complained of herein as they were

 24           identified by photo image throughout the world, and each of the statements was interpreted by their friends,

 25           family and associates as about them personally.

 26       35. Each of the complained of statements herein by each of the defendants concerning the Covington Boys

 27           were known by friends and acquaintances of each of the John Doe plaintiffs to be in reference to and

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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 12
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 1            concerning them individually. This is evident by the fact they were quickly subject to public ridicule, scorn,

 2            and criticism personally and individually, as well as threatening phone calls, hate mail to their homes,

 3            individual email addresses, and social media accounts, and personally threatened with everything from

 4            expulsion and denial of college admission to being put through a physical shredder and having their school

 5            burned with them in it.

 6        36. Each of the defendants made these statements knowing they both omitted true facts and implied false facts,

 7            including the false factual claim the Covington Boys interrupted an indigenous people’s march, stopped,

 10           blocked and surrounded a native American elder war veteran for the purposes of taunting, harassing, and

 9            mocking him with chants of build the wall, aggregating these lies into public denunciations, calls for public

 10           doxing, and public demands of school expulsion, to induce public contempt upon the plaintiffs.

 11       37. Section 14 of the Kentucky Constitution has been interpreted by Kentucky courts to state that citizens must

 12           have a remedy with due process of law for any injury by resort to the courts.

 13       38. Plaintiffs, all minors, have the right to live their lives in seclusion, without being subjected to unwarranted

 14           and undesired publicity, and have the right to be left alone.

 15       39. Section 10 of the Kentucky Constitution further states “Freedom of speech and of the press…shall be free

 16           to every person who undertakes to examine the proceedings of the general assembly or any branch of

 17           government, and no law shall ever be made to restrain the right thereof. Every person may freely speak,

110           write and print any subject, being responsible for the abuse of that liberty.”

 19
       JOHN DOE 1 THROUGH 10 ARE MINORS & PRIVATE FIGURES
 20
          40. DOES 1-10, at all times pertinent to this action, were minors.
 21
          41. DOES 1-10 had no notoriety of any kind to their community at large at any time prior to this event.
 22
          42. DOES 1-10 did not make public appearances for political reasons at any time prior to this event.
 23
          43. DOES 1-10 have not inserted themselves into the forefront of any public issue at any time prior to this
 24
              event.
 25
          44. Each of the statements made herein were identified by the friends, family, associates, and others as of and
 26
              concerning each of the John Does individually. They were doxed and publicly identified by name after the
 27
              request for that to occur by defendants above, identified by photo in video and photo images shared around
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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 13
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 1            the world, and the context of the statements made them individually identified as the ones being spoken

 2            about. They were publicly attacked, personally threatened, and subject to individual investigation based on

 3            them being individually identified as the subject of the above offending statements of fact from the

 4            defendants with large social media platforms and an audience who took the defendants’ at their word due to

 5            the defendants status as elected officials and prominent members of the press.

 6                                               FIRST CAUSE OF ACTION
                                                     (DEFAMATION)
 7
                                             DOES 1-10 against DEB HAALAND
 10
          45. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
 9
              herein.
 10
          46. HAALAND, known on Twitter as @Deb4CongressNM, published to approximately 610,000 third parties,
 11
              without privilege “[a] Native American War veteran was seen being harassed and mocked by a group of
 12
              MAGA hat-wearing teens.” A true and correct copy of said communication is attached hereto as Exhibit H.
 13
              Haaland omitted the true facts, and instead implied the following facts were true in her statements and the
 14
              links attached thereto with the gist of the false statements made about the plaintiffs was that the kids
 15
              interrupted an indigenous march, stopped and blocked a Native American elder and Vietnam War veteran
 16
              from continuous participation in that event, surrounded him in a threatening manner, and taunted him, as a
 17
              native American elder, with chants of “build the wall” to mock an elderly native American in the middle of
110
              an indigenous march. Each of the statements complained of herein was known by the friends, family and
 19
              associates of each John Doe to be about them individually. Indeed, they were individually identified as the
 20
              subject of the statements complained of herein that they received death threats, hate mail, threatening phone
 21
              calls, threatening emails, and other personal attacks on them each individually. They were known to be the
 22
              subject of the statements complained of herein as they were identified by photo image throughout the
 23
              world, and each of the statements was interpreted by their friends, family and associates as about them
 24
              personally.
 25
          47. HAALAND’s communication was false and defaming as none of DOES 1-10 harassed or mocked anyone,
 26
              and particularly no Native American “War Veterans.” This comment is deliberately directed against DOES
 27
              1-10, all minors, and communicated to at least 610,000 third parties without privilege, knowing DOES 1-
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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 14
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 1            10 were from Covington, Kentucky, with the intent to negatively influence the opinion of DOES 1-10 in

 2            their school, their community, and the nation at large.

 3        48. HAALAND’s false and defamatory communication injured DOES 1-10 as it disgraced and degraded the

 4            plaintiffs and held them up to public hatred, contempt, ridicule, and/or caused them to be shunned and

 5            avoided. In addition, HAALAND’S false and defamatory communication caused DOES 1-10 special

 6            economic harm, including the increased cost of protecting their privacy and security from the threats

 7            derived from the social media mob HAALAND helped lead, endangered their college admissions’

 10           prospects, and limited their economic prospects and future earning power as adults.

 9                                              SECOND CAUSE OF ACTION
                                              (INTRUSION UPON SECLUSION)
 10
                                               DOES 1-10 against DEB HAALAND
 11
          49. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
 12
              herein.
 13
          50. The Plaintiffs, all minors, had a right under Kentucky law to live their life in seclusion, without being
 14
              subjected to unwanted and undesired publicity, and a right to be left alone.
 15
          51. Pursuant to the case law in this state, the Plaintiffs, all minors, had the right to be left alone, and not be
 16
              subjected to scorn and the hateful comments made by Haaland.
 17
          52. As a result of Haaland’s actions, Plaintiffs have been damaged in an amount to be proven at trial, in excess
110
              of the jurisdiction of this Court.
 19
                                           THIRD CAUSE OF ACTION
 20                            (NEGLIGENT INFLICATION OF EMOTIONAL DISTRESS)

 21                                            DOES 1-10 against DEB HAALAND

 22       53. DOES 1-10 reassert and incorporate by reference paragraphs the other paragraphs of this Complaint as if

 23           fully restated herein.

 24       54. Defendant Haaland’s actions caused the Plaintiffs emotional distress, including but not limited to anxiety,

 25           fear for their safety, and effected their educational activities.

 26       55. As a result of Defendant Haaland’s conduct, Plaintiffs have been damaged in an amount to be proven at

 27           trial, in excess of the jurisdiction of the Court.

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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 15
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 1                                             FOURTH CAUSE OF ACTION
                                                   (DEFAMATION)
 2
                                            DOES 1-10 against ANNA NAVARRO
 3
          56. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
 4
              herein.
 5
          57. NAVARRO, known on Twitter as @ananavarro, published to approximately 1.1 million third parties,
 6
              without privilege, “Must Watch: Native-American elder taunted by racist MAGA-hat wearing teens, speaks
 7
              and cries for America, the country he defended and sacrificed and wore the uniform for. It is people like
 10
              Nathan Phillips who make America great. Thank you for your dignity, sir...” A true and correct copy of
 9
              said communication is attached hereto as Exhibit B. Navarro omitted the true facts, and instead implied the
 10
              following facts were true in her statements and the links attached thereto with the gist of the false
 11
              statements made about the plaintiffs was that the kids interrupted an indigenous march, stopped and
 12
              blocked a Native American elder and Vietnam War veteran from continuous participation in that event,
 13
              surrounded him in a threatening manner, and taunted him, as a native American elder, with chants of “build
 14
              the wall” to mock an elderly native American in the middle of an indigenous march. Each of the statements
 15
              complained of herein was known by the friends, family and associates of each John Doe to be about them
 16
              individually. Indeed, they were individually identified as the subject of the statements complained of herein
 17
              that they received death threats, hate mail, threatening phone calls, threatening emails, and other personal
110
              attacks on them each individually. They were known to be the subject of the statements complained of
 19
              herein as they were identified by photo image throughout the world, and each of the statements was
 20
              interpreted by their friends, family and associates as about them personally.
 21
          58. NAVARRO’s communication was false and defaming as she accuses DOES 1-10, of overt racism and
 22
              taunting, not exhibited. This comment is deliberately directed against DOES 1-10, all minors, and
 23
              communicated to at least 1.1 million third parties without privilege, knowing DOES 1-10 were from
 24
              Covington, Kentucky, with the intent to negatively influence the opinion of DOES 1-10 in their school,
 25
              their community, and the nation at large.
 26
          59. NAVARRO’s false and defamatory communication injured DOES 1-10 as it disgraced and degraded the
 27
              plaintiffs and held them up to public hatred, contempt, ridicule, and/or caused them to be shunned and
210
       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 16
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 1            avoided. In addition, NAVARRO’S false and defamatory communication caused DOES 1-10 special

 2            economic harm, including the increased cost of protecting their privacy and security from the threats

 3            derived from the social media mob HAALAND helped lead, endangered their college admissions’

 4            prospects, and limited their economic prospects and future earning power as adults.

 5                                               FIFTH CAUSE OF ACTION
                                              (INTRUSION UPON SECLUSION)
 6
                                             DOES 1-10 against ANNA NAVARRO
 7
          60. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
 10
              herein.
 9
          61. The Plaintiffs, all minors, had a right under Kentucky law to live their life in seclusion, without being
 10
              subjected to unwanted and undesired publicity, and a right to be left alone.
 11
          62. Pursuant to the case law in this state, the Plaintiffs, all minors, had the right to be left alone, and not be
 12
              subjected to scorn and the hateful comments made by Navarro.
 13
          63. As a result of Navarro’s actions, Plaintiffs have been damaged in an amount to be proven at trial, in excess
 14
              of the jurisdiction of this Court.
 15
                                           SIXTH CAUSE OF ACTION
 16                            (NEGLIGENT INFLICATION OF EMOTIONAL DISTRESS)

 17                                          DOES 1-10 against ANNA NAVARRO

110       64. DOES 1-10 reassert and incorporate by reference paragraphs the other paragraphs of this Complaint as if

 19           fully restated herein.

 20       65. Defendant Navarro’s actions caused the Plaintiffs emotional distress, including but not limited to anxiety,

 21           fear for their safety, and effected their educational activities.

 22       66. As a result of Defendant Navarro’s conduct, Plaintiffs have been damaged in an amount to be proven at

 23           trial, in excess of the jurisdiction of the Court.

 24                                             SEVENTH CAUSE OF ACTION
                                                     (DEFAMATION)
 25
                                             DOES 1-10 against KATHY GRIFFIN
 26
          67. DOES 1-10 reassert and incorporate by reference paragraphs the other paragraphs of this Complaint as if
 27
              fully restated herein.
210
       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 17
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 1        68. GRIFFIN, known on Twitter as @kathygriffin, published to approximately 2.1 million third parties,

 2            without privilege “Ps. The reply from the school was pathetic and impotent. Name these kids. I want

 3            NAMES. Shame them. If you think these fuckers wouldn’t dox you in a heartbeat, think again.” Griffin

 4            then followed up with, “Names please. And stories from people who can identify them and vouch for their

 5            identity. Thank you.” See Exhibit L. A true and correct copy of said communication is attached hereto as

 6            Exhibits L and K. Griffin omitted the true facts, and instead implied the following facts were true in her

 7            statements and the links attached thereto with the gist of the false statements made about the plaintiffs was

 10           that the kids interrupted an indigenous march, stopped and blocked a Native American elder and Vietnam

 9            War veteran from continuous participation in that event, surrounded him in a threatening manner, and

 10           taunted him, as a native American elder, with chants of “build the wall” to a Native American elder to taunt

 11           him. Each of the statements complained of herein was known by the friends, family and associates of each

 12           John Doe to be about them individually. Indeed, they were individually identified as the subject of the

 13           statements complained of herein that they received death threats, hate mail, threatening phone calls,

 14           threatening emails, and other personal attacks on them each individually. They were known to be the

 15           subject of the statements complained of herein as they were identified by photo image throughout the

 16           world, and each of the statements was interpreted by their friends, family and associates as about them

 17           personally. Griffin’s call to dox the plaintiffs succeeded, as their names were identified to the broader

110           public in a range of social media platforms, and they subsequently received a range of threats.

 19       69. GRIFFIN’s communication was intentionally defaming as she openly calls for shame of DOES 1-10. This

 20           comment is deliberately directed against DOES 1-10, all minors, and communicated to at least 2.1 million

 21           third parties without privilege, knowing DOES 1-10 were from Covington, Kentucky, with the intent to

 22           negatively influence the opinion of DOES 1-10 in their school, their community, and the nation at large.

 23       70. GRIFFIN’s defamatory communication injured DOES 1-10 as it disgraced and degraded the plaintiffs and

 24           held them up to public hatred, contempt, ridicule, and/or caused them to be shunned and avoided. In

 25           addition, GRIFFIN’S false and defamatory communication caused DOES 1-10 special economic harm,

 26           including the increased cost of protecting their privacy and security from the threats derived from the social

 27

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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 18
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 1            media mob GRIFFIN proudly lead, endangered their college admissions’ prospects, and limited their

 2            economic prospects and future earning power as adults.

 3                                              EIGHTH CAUSE OF ACTION
                                              (INTRUSION UPON SECLUSION)
 4
                                             DOES 1-10 against KATHY GRIFFIN
 5
          71. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
 6
              herein.
 7
          72. The Plaintiffs, all minors, had a right under Kentucky law to live their life in seclusion, without being
 10
              subjected to unwanted and undesired publicity, and a right to be left alone.
 9
          73. Pursuant to the case law in this state, the Plaintiffs, all minors, had the right to be left alone, and not be
 10
              subjected to scorn and the hateful comments made by Griffin.
 11
          74. As a result of Griffin’s actions, Plaintiffs have been damaged in an amount to be proven at trial, in excess
 12
              of the jurisdiction of this Court.
 13
                                           NINTH CAUSE OF ACTION
 14                            (NEGLIGENT INFLICATION OF EMOTIONAL DISTRESS)

 15                                          DOES 1-10 against KATHY GRIFFIN

 16       75. DOES 1-10 reassert and incorporate by reference paragraphs the other paragraphs of this Complaint as if

 17           fully restated herein.

110       76. Defendant Griffin’s actions caused the Plaintiffs emotional distress, including but not limited to anxiety,

 19           fear for their safety, and effected their educational activities.

 20       77. As a result of Defendant Griffin’s conduct, Plaintiffs have been damaged in an amount to be proven at trial,

 21           in excess of the jurisdiction of the Court.

 22                                                TENTH CAUSE OF ACTION
                                                       (HARASSMENT)
 23
                                             DOES 1-10 against KATHY GRIFFIN
 24
          78. DOES 1-10 reassert and incorporate by reference paragraphs the other paragraphs of this Complaint as if
 25
              fully restated herein.
 26
          79. GRIFFIN’S actions were done with the intent to intimidate, harass, annoy, and alarm the Plaintiffs,
 27
              subjecting them to the potential of physical harm.
210
       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 19
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 1        80. GRIFFIN’S actions were a public course utterance, using abusive language towards the Plaintiffs.

 2        81. GRIFFIN’S actions were conduct which alarmed and/or seriously annoyed the Plaintiffs, and served no

 3            legitimate purpose.

 4        82. Pursuant to KRS 446.070, Plaintiffs are entitled to damages in an amount to be proven at trial.

 5                                           ELEVENTH CAUSE OF ACTION
                                                   (DEFAMATION)
 6
                                        DOES 1-10 against ELIZABETH WARREN
 7
          83. DOES 1-10 reasserts and incorporates by reference the other paragraphs of this Complaint as if fully
 10
              restated herein.
 9
          84. WARREN, known on Twitter as @ewarren, published to approximately 2.3 million third parties, without
 10
              privilege “Omaha elder and Vietnam War veteran Nathan Phillips endured hateful taunts with dignity and
 11
              strength, then urged us all to do better.” A true and correct copy of said communication is attached hereto
 12
              as Exhibit J. Warren omitted the true facts, and instead implied the following facts were true in her
 13
              statements and the links attached thereto with the gist of the false statements made about the plaintiffs was
 14
              that the kids interrupted an indigenous march, stopped and blocked a Native American elder and Vietnam
 15
              War veteran from continuous participation in that event, surrounded him in a threatening manner, and
 16
              taunted him, as a native American elder, with chants of “build the wall” to a Native American elder to taunt
 17
              him. Each of the statements complained of herein was known by the friends, family and associates of each
110
              John Doe to be about them individually. Indeed, they were individually identified as the subject of the
 19
              statements complained of herein that they received death threats, hate mail, threatening phone calls,
 20
              threatening emails, and other personal attacks on them each individually. They were known to be the
 21
              subject of the statements complained of herein as they were identified by photo image throughout the
 22
              world, and each of the statements was interpreted by their friends, family and associates as about them
 23
              personally.
 24
          85. WARREN’s communication was false and defaming as she accuses DOES 1-10, of overt taunting, not
 25
              exhibited. This comment is deliberately directed against DOES 1-10, all minors, and communicated to
 26
              [how many] third parties without privilege, knowing DOES 1-10 were from Covington, Kentucky, with the
 27

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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 20
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 1            intent to negatively influence the opinion of DOES 1-10 in their school, their community, and the nation at

 2            large.

 3        86. WARREN’s communication injured DOES 1-10 as it disgraced and degraded the plaintiffs and held them

 4            up to public hatred, contempt, ridicule, and/or caused them to be shunned and avoided. In addition,

 5            WARREN’S false and defamatory communication caused DOES 1-10 special economic harm, including

 6            the increased cost of protecting their privacy and security from the threats derived from the social media

 7            mob WARREN helped lead, endangered their college admissions’ prospects, and limited their economic

 10           prospects and future earning power as adults.

 9                                             TWELVTH CAUSE OF ACTION
                                              (INTRUSION UPON SECLUSION)
 10
                                          DOES 1-10 against ELIZABETH WARREN
 11
          87. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
 12
              herein.
 13
          88. The Plaintiffs, all minors, had a right under Kentucky law to live their life in seclusion, without being
 14
              subjected to unwanted and undesired publicity, and a right to be left alone.
 15
          89. Pursuant to the case law in this state, the Plaintiffs, all minors, had the right to be left alone, and not be
 16
              subjected to scorn and the hateful comments made by Warren.
 17
          90. As a result of Warren’s actions, Plaintiffs have been damaged in an amount to be proven at trial, in excess
110
              of the jurisdiction of this Court.
 19
                                        THIRTEENTH CAUSE OF ACTION
 20                            (NEGLIGENT INFLICATION OF EMOTIONAL DISTRESS)

 21                                       DOES 1-10 against ELIZABETH WARREN

 22       91. DOES 1-10 reassert and incorporate by reference paragraphs the other paragraphs of this Complaint as if

 23           fully restated herein.

 24       92. Defendant Warren’s actions caused the Plaintiffs emotional distress, including but not limited to anxiety,

 25           fear for their safety, and effected their educational activities.

 26       93. As a result of Defendant Warren’s conduct, Plaintiffs have been damaged in an amount to be proven at

 27           trial, in excess of the jurisdiction of the Court.

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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 21
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 1                                          FOURTEENTH CAUSE OF ACTION
                                                  (DEFAMATION)
 2
                                         DOES 1-10 against MAGGIE HABERMAN
 3
          94. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
 4
              herein.
 5
          95. HABERMAN, known on Twitter as @maggieNYT, published to approximately 1.010 million third
 6
              parties, without privilege “When adults stand by and say nothing...” A true and correct copy of said
 7
              communication is attached hereto as Exhibit D. Haberman also published to some 1.010 million third
 10
              parties, without privilege, “There are dozens of students laughing and egging on the behavior. Will be
 9
              interesting to see if anyone is actually expelled, as officials suggest is possible.” A true and correct copy of
 10
              said communication is attached hereto as Exhibit I. Haberman omitted the true facts, and instead implied
 11
              the following facts were true in her statements and the links attached thereto with the gist of the false
 12
              statements made about the plaintiffs was that the kids interrupted an indigenous march, stopped and
 13
              blocked a Native American elder and Vietnam War veteran from continuous participation in that event,
 14
              surrounded him in a threatening manner, and taunted him, as a native American elder, with chants of “build
 15
              the wall” to a Native American elder to taunt him. Each of the statements complained of herein was known
 16
              by the friends, family and associates of each John Doe to be about them individually. Indeed, they were
 17
              individually identified as the subject of the statements complained of herein that they received death
110
              threats, hate mail, threatening phone calls, threatening emails, and other personal attacks on them each
 19
              individually. They were known to be the subject of the statements complained of herein as they were
 20
              identified by photo image throughout the world, and each of the statements was interpreted by their friends,
 21
              family and associates as about them personally.
 22
          96. HABERMAN’s communication was false and defaming as she accuses DOES 1-10, of egging on behavior
 23
              worthy of expulsion from school, not exhibited. This comment is deliberately directed against DOES 1-10,
 24
              all minors, and communicated to [how many] third parties without privilege, knowing DOES 1-10 were
 25
              from Covington, Kentucky, with the intent to negatively influence the opinion of DOES 1-10 in their
 26
              school, their community, and the nation at large.
 27

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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 22
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 1        97. HABERMAN’s communication injured DOES 1-10 as it disgraced and degraded the plaintiffs and held

 2            them up to public hatred, contempt, ridicule, and/or caused them to be shunned and avoided. In addition,

 3            HABERMAN’S false and defamatory communication caused DOES 1-10 special economic harm,

 4            including the increased cost of protecting their privacy and security from the threats derived from the social

 5            media mob HABERMAN helped lead, endangered their college admissions’ prospects, and limited their

 6            economic prospects and future earning power as adults.

 7                                             FIFTEENTH CAUSE OF ACTION
                                               (INTRUSION UPON SECLUSION)
 10
                                           DOES 1-10 against MAGGIE HABERMAN
 9
          98. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
 10
              herein.
 11
          99. The Plaintiffs, all minors, had a right under Kentucky law to live their life in seclusion, without being
 12
              subjected to unwanted and undesired publicity, and a right to be left alone.
 13
          100. Pursuant to the case law in this state, the Plaintiffs, all minors, had the right to be left alone, and not be
 14
              subjected to scorn and the hateful comments made by Haberman.
 15
          101. As a result of Haberman’s actions, Plaintiffs have been damaged in an amount to be proven at trial, in
 16
              excess of the jurisdiction of this Court.
 17
                                        SIXTEENTH CAUSE OF ACTION
110                            (NEGLIGENT INFLICATION OF EMOTIONAL DISTRESS)

 19                                        DOES 1-10 against MAGGIE HABERMAN

 20       102. DOES 1-10 reassert and incorporate by reference paragraphs the other paragraphs of this Complaint as if

 21           fully restated herein.

 22       103. Defendant Haberman’s actions caused the Plaintiffs emotional distress, including but not limited to anxiety,

 23           fear for their safety, and effected their educational activities.

 24       104. As a result of Defendant Haberman’s conduct, Plaintiffs have been damaged in an amount to be proven at

 25           trial, in excess of the jurisdiction of the Court.

 26

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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 23
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 1                                         SEVENTEENTH CAUSE OF ACTION
                                                  (DEFAMATION)
 2
                                           DOES 1-10 against MATTHEW DOWD
 3
          105. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
 4
              herein.
 5
          106. DOWD, known on Twitter as @matthewjdowd, published to approximately 137,000 third parties, without
 6
              privilege “Folks, let us not let these kids, their parents and their school off the hook. Regardless of what led
 7
              up to this, this is awful.” A true and correct copy of said communication is attached hereto as Exhibit N.
 10
              Dowd omitted the true facts, and instead implied the following facts were true in his statements and the
 9
              links attached thereto with the gist of the false statements made about the plaintiffs was that the kids
 10
              interrupted an indigenous march, stopped and blocked a Native American elder and Vietnam War veteran
 11
              from continuous participation in that event, surrounded him in a threatening manner, and taunted him, as a
 12
              native American elder, with chants of “build the wall” to a Native American elder to taunt him. Each of the
 13
              statements complained of herein was known by the friends, family and associates of each John Doe to be
 14
              about them individually. Indeed, they were individually identified as the subject of the statements
 15
              complained of herein that they received death threats, hate mail, threatening phone calls, threatening
 16
              emails, and other personal attacks on them each individually. They were known to be the subject of the
 17
              statements complained of herein as they were identified by photo image throughout the world, and each of
110
              the statements was interpreted by their friends, family and associates as about them personally.
 19
          107. DOWD’s communication was false and defaming as she accuses DOES 1-10, of awful behavior, not
 20
              exhibited. This comment is deliberately directed against DOES 1-10, all minors, and communicated to
 21
              137,000 third parties without privilege, knowing DOES 1-10 were from Covington, Kentucky, with the
 22
              intent to negatively influence the opinion of DOES 1-10 in their school, their community, and the nation at
 23
              large.
 24
          108. DOWD’s communication injured DOES 1-10 as it disgraced and degraded the plaintiffs and held them up
 25
              to public hatred, contempt, ridicule, and/or caused them to be shunned and avoided. In addition, DOWD’S
 26
              false and defamatory communication caused DOES 1-10 special economic harm, including the increased
 27
              cost of protecting their privacy and security from the threats derived from the social media mob DOWD
210
       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 24
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 1            helped lead, endangered their college admissions’ prospects, and limited their economic prospects and

 2            future earning power as adults.

 3                                              EIGHTEENTH CAUSE OF ACTION
                                                 (INTRUSION UPON SECLUSION)
 4
                                             DOES 1-10 against MATTHEW DOWD
 5
          109. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
 6
              herein.
 7
          110. The Plaintiffs, all minors, had a right under Kentucky law to live their life in seclusion, without being
 10
              subjected to unwanted and undesired publicity, and a right to be left alone.
 9
          111. Pursuant to the case law in this state, the Plaintiffs, all minors, had the right to be left alone, and not be
 10
              subjected to scorn and the hateful comments made by Dowd.
 11
          112. As a result of Dowd’s actions, Plaintiffs have been damaged in an amount to be proven at trial, in excess of
 12
              the jurisdiction of this Court.
 13
                                          NINETEENTH CAUSE OF ACTION
 14                              (NEGLIGENT INFLICATION OF EMOTIONAL DISTRESS)

 15                                          DOES 1-10 against MATTHEW DOWD

 16       113. DOES 1-10 reassert and incorporate by reference paragraphs the other paragraphs of this Complaint as if

 17           fully restated herein.

110       114. Defendant Dowd’s actions caused the Plaintiffs emotional distress, including but not limited to anxiety,

 19           fear for their safety, and effected their educational activities.

 20       115. As a result of Defendant Dowd’s conduct, Plaintiffs have been damaged in an amount to be proven at trial,

 21           in excess of the jurisdiction of the Court.

 22                                             TWENTIETH CAUSE OF ACTION
                                                      (DEFAMATION)
 23
                                                 DOES 1-10 against REZA ASLAN
 24
          116. DOES 1-10 reasserts and incorporates by reference the other paragraphs of this Complaint as if fully
 25
              restated herein.
 26
          117. ASLAN, known on Twitter as @rezaaslan, published to approximately 2109,000 third parties, without
 27
              privilege “Honest question. Have you ever seen a more punchable face than this kid’s?” A true and correct
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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 25
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 1            copy of said communication is attached hereto as Exhibit G. Aslan omitted the true facts, and instead

 2            implied the following facts were true in his statements and the links attached thereto with the gist of the

 3            false statements made about the plaintiffs was that the kids interrupted an indigenous march, stopped and

 4            blocked a Native American elder and Vietnam War veteran from continuous participation in that event,

 5            surrounded him in a threatening manner, and taunted him, as a native American elder, with chants of “build

 6            the wall” to a Native American elder to taunt him. Each of the statements complained of herein was known

 7            by the friends, family and associates of each John Doe to be about them individually. Indeed, they were

 10           individually identified as the subject of the statements complained of herein that they received death

 9            threats, hate mail, threatening phone calls, threatening emails, and other personal attacks on them each

 10           individually. They were known to be the subject of the statements complained of herein as they were

 11           identified by photo image throughout the world, and each of the statements was interpreted by their friends,

 12           family and associates as about them personally.

 13       118. ASLAN’s communication was false and defaming as he accuses DOES 1-10, of behavior deserving of

 14           being punched in the face, not exhibited. This comment is deliberately directed against DOES 1-10, all

 15           minors, and communicated to hundreds of thousands of third parties without privilege, knowing DOES 1-

 16           10 were from Covington, Kentucky, with the intent to negatively influence the opinion of DOES 1-10 in

 17           their school, their community, and the nation at large.

110       119. ASLAN’s communication injured DOES 1-10 as it disgraced and degraded the plaintiffs and held them up

 19           to public hatred, contempt, ridicule, and/or caused them to be shunned and avoided. In addition, ASLAN’S

 20           false and defamatory communication caused DOES 1-10 special economic harm, including the increased

 21           cost of protecting their privacy and security from the threats derived from the social media mob ASLAN

 22           helped lead, endangered their college admissions’ prospects, and limited their economic prospects and

 23           future earning power as adults.

 24                                       TWENTY-FIRST CAUSE OF ACTION
                                           (INTRUSION UPON SECLUSION)
 25
                                                DOES 1-10 against REZA ASLAN
 26
          120. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
 27
              herein.
210
       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 26
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 1        121. The Plaintiffs, all minors, had a right under Kentucky law to live their life in seclusion, without being

 2            subjected to unwanted and undesired publicity, and a right to be left alone.

 3        122. Pursuant to the case law in this state, the Plaintiffs, all minors, had the right to be left alone, and not be

 4            subjected to scorn and the hateful comments made by Aslan.

 5        123. As a result of Aslan’s actions, Plaintiffs have been damaged in an amount to be proven at trial, in excess of

 6            the jurisdiction of this Court.

 7                                      TWENTY-SECOND CAUSE OF ACTION
                                 (NEGLIGENT INFLICATION OF EMOTIONAL DISTRESS)
 10
                                                DOES 1-10 against REZA ASLAN
 9
          124. DOES 1-10 reassert and incorporate by reference paragraphs the other paragraphs of this Complaint as if
 10
              fully restated herein.
 11
          125. Defendant Aslan’s actions caused the Plaintiffs emotional distress, including but not limited to anxiety, fear
 12
              for their safety, and effected their educational activities.
 13
          126. As a result of Defendant Aslan’s conduct, Plaintiffs have been damaged in an amount to be proven at trial,
 14
              in excess of the jurisdiction of the Court.
 15
                                            TWENTY-THIRD CAUSE OF ACTION
 16                                                (DEFAMATION)

 17                                             DOES 1-10 against ADAM EDELEN

110       127. DOES 1-10 reasserts and incorporates by reference the other paragraphs of this Complaint as if fully

 19           restated herein.

 20       128. ADAM EDELEN, a blue-checkmark-approved Twitter personality, retweeted an article with false factual

 21           statements about the Covington Boys, and validated the false factual claims of the article by referring to the

 22           kids as “outrageous and abhorrent behavior,” that requires they “read a history book on how America’s

 23           indigenous people have been treated,” and that they “need to do some serious soul-searching.” Edelen

 24           omitted the true facts, and instead implied the following facts were true in his statements and the links

 25           attached thereto with the gist of the false statements made about the plaintiffs was that the kids interrupted

 26           an indigenous march, stopped and blocked a Native American elder and Vietnam War veteran from

 27           continuous participation in that event, surrounded him in a threatening manner, and taunted him, as a native

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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 27
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 1            American elder, with chants of “build the wall” to mock an elderly native American in the middle of an

 2            indigenous march. Each of the statements complained of herein was known by the friends, family and

 3            associates of each John Doe to be about them individually. Indeed, they were individually identified as the

 4            subject of the statements complained of herein that they received death threats, hate mail, threatening phone

 5            calls, threatening emails, and other personal attacks on them each individually. They were known to be the

 6            subject of the statements complained of herein as they were identified by photo image throughout the

 7            world, and each of the statements was interpreted by their friends, family and associates as about them

 10           personally.

 9        129. EDELEN’s communication was false and defaming as he accuses DOES 1-10, of engaging in outrageous

 10           conduct of threatening a native American elder. This comment is deliberately directed against DOES 1-10,

 11           all minors, and communicated to hundreds of thousands of third parties without privilege, knowing DOES

 12           1-10 were from Covington, Kentucky, with the intent to negatively influence the opinion of DOES 1-10 in

 13           their school, their community, and the nation at large. In addition, EDELENS false and defamatory

 14           communication caused DOES 1-10 special economic harm, including the increased cost of protecting their

 15           privacy and security from the threats derived from the social media mob EDELEN helped lead locally,

 16           endangered their college admissions’ prospects, and limited their economic prospects and future earning

 17           power as adults.

110                                        TWENTY-FOURTH CAUSE OF ACTION
                                             (INTRUSION UPON SECLUSION)
 19
                                               DOES 1-10 against ADAM EDELEN
 20
          130. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
 21
              herein.
 22
          131. The Plaintiffs, all minors, had a right under Kentucky law to live their life in seclusion, without being
 23
              subjected to unwanted and undesired publicity, and a right to be left alone.
 24
          132. Pursuant to the case law in this state, the Plaintiffs, all minors, had the right to be left alone, and not be
 25
              subjected to scorn and the hateful comments made by Edelen.
 26
          133. As a result of Edelen’s actions, Plaintiffs have been damaged in an amount to be proven at trial, in excess
 27
              of the jurisdiction of this Court.
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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 28
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 1                                       TWENTY-FIFTH CAUSE OF ACTION
                                 (NEGLIGENT INFLICATION OF EMOTIONAL DISTRESS)
 2
                                              DOES 1-10 against ADAM EDELEN
 3
          134. DOES 1-10 reassert and incorporate by reference paragraphs the other paragraphs of this Complaint as if
 4
              fully restated herein.
 5
          135. Defendant Edelen’s actions caused the Plaintiffs emotional distress, including but not limited to anxiety,
 6
              fear for their safety, and effected their educational activities.
 7
          136. As a result of Defendant Edelen’s conduct, Plaintiffs have been damaged in an amount to be proven at trial,
 10
              in excess of the jurisdiction of the Court.
 9
                                           TWENTY-SIXTH CAUSE OF ACTION
 10                                               (DEFAMATION)

 11                                          DOES 1-10 against KEVIN M. KRUSE

 12       137. DOES 1-10 reasserts and incorporates by reference the other paragraphs of this Complaint as if fully

 13           restated herein.

 14       138. KRUSE, known on Twitter as @KevinMKruse, published to approximately 2104,000 third parties, without

 15           privilege “No, the accusation was that this kid and his friends mocked an elderly Native American war

 16           veteran and, hey, they did. They also taunted women and shouted “it’s not rape if you enjoy it” but sure,

 17           they’re the real victims. According to his PR firm anyway.” A true and correct copy of said communication

110           is attached hereto as Exhibit P. Kruse omitted the true facts, and instead implied the following facts were

 19           true in his statements and the links attached thereto with the gist of the false statements made about the

 20           plaintiffs was that the kids interrupted an indigenous march, stopped and blocked a Native American elder

 21           and Vietnam War veteran from continuous participation in that event, surrounded him in a threatening

 22           manner, and taunted him, as a native American elder, with chants of “build the wall” to mock an elderly

 23           native American in the middle of an indigenous march, and falsely accused the plaintiffs of threatening

 24           women with chants of “it’s not rape if you enjoy it.” Each of the statements complained of herein was

 25           known by the friends, family and associates of each John Doe to be about them individually. Indeed, they

 26           were individually identified as the subject of the statements complained of herein that they received death

 27           threats, hate mail, threatening phone calls, threatening emails, and other personal attacks on them each

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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 29
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 1            individually. They were known to be the subject of the statements complained of herein as they were

 2            identified by photo image throughout the world, and each of the statements was interpreted by their friends,

 3            family and associates as about them personally.

 4        139. KRUSE’s communication was false and defaming as he accuses DOES 1-10, of mocking a war veteran,

 5            taunting women and making a statement about rape – none of which were exhibited. This comment is

 6            deliberately directed against DOES 1-10, all minors, and communicated to [2104,000] third parties without

 7            privilege, knowing DOES 1-10 were from Covington, Kentucky, with the intent to negatively influence the

 10           opinion of DOES 1-10 in their school, their community, and the nation at large.

 9        140. KRUSE’s communication injured DOES 1-10 as it disgraced and degraded the plaintiffs and held them up

 10           to public hatred, contempt, ridicule, and/or caused them to be shunned and avoided. In addition,

 11           HAALAND’S false and defamatory communication caused DOES 1-10 special economic harm, including

 12           the increased cost of protecting their privacy and security from the threats derived from the social media

 13           mob HAALAND helped lead, endangered their college admissions’ prospects, and limited their economic

 14           prospects and future earning power as adults.

 15                                       TWENTY-SEVENTH CAUSE OF ACTION
                                            (INTRUSION UPON SECLUSION)
 16
                                                DOES 1-10 against KEVIN M. KRUSE
 17
          141. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
110
              herein.
 19
          142. The Plaintiffs, all minors, had a right under Kentucky law to live their life in seclusion, without being
 20
              subjected to unwanted and undesired publicity, and a right to be left alone.
 21
          143. Pursuant to the case law in this state, the Plaintiffs, all minors, had the right to be left alone, and not be
 22
              subjected to scorn and the hateful comments made by Kruse.
 23
          144. As a result of Kruse’s actions, Plaintiffs have been damaged in an amount to be proven at trial, in excess of
 24
              the jurisdiction of this Court.
 25

 26

 27

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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 30
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 1                                      TWENTY-EIGHTH CAUSE OF ACTION
                                 (NEGLIGENT INFLICATION OF EMOTIONAL DISTRESS)
 2
                                             DOES 1-10 against KEVIN M. KRUSE
 3
          145. DOES 1-10 reassert and incorporate by reference paragraphs the other paragraphs of this Complaint as if
 4
              fully restated herein.
 5
          146. Defendant Kruse’s actions caused the Plaintiffs emotional distress, including but not limited to anxiety, fear
 6
              for their safety, and effected their educational activities.
 7
          147. As a result of Defendant Kruse’s conduct, Plaintiffs have been damaged in an amount to be proven at trial,
 10
              in excess of the jurisdiction of the Court.
 9
                                          TWENTY-NINETH CAUSE OF ACTION
 10                                               (DEFAMATION)

 11                                            DOES 1-10 against SHAUN KING

 12       148. DOES 1-10 reasserts and incorporates by reference the other paragraphs of this Complaint as if fully

 13           restated herein.

 14       149. KING, known on Twitter as @shaunking, published to approximately 1.1 million third parties, without

 15           privilege “I am so deeply grieved and angry by this as young kids in MAGA hats surrounded and mocked a

 16           beloved Native American elder yesterday. When your power is centered in your whiteness, mocking others

 17           who are unlike you makes you feel strong. But it’s weak. And despicable.” A true and correct copy of said

110           communication is attached hereto as Exhibit C. King omitted the true facts, and instead implied the

 19           following facts were true in his statements and the links attached thereto with the gist of the false

 20           statements made about the plaintiffs was that the kids interrupted an indigenous march, stopped and

 21           blocked a Native American elder and Vietnam War veteran from continuous participation in that event,

 22           surrounded him in a threatening manner, and taunted him, as a native American elder, with chants of “build

 23           the wall” to mock an elderly native American in the middle of an indigenous march, and falsely accused the

 24           plaintiffs of threatening women with chants of “it’s not rape if you enjoy it.” Each of the statements

 25           complained of herein was known by the friends, family and associates of each John Doe to be about them

 26           individually. Indeed, they were individually identified as the subject of the statements complained of herein

 27           that they received death threats, hate mail, threatening phone calls, threatening emails, and other personal

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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 31
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 1            attacks on them each individually. They were known to be the subject of the statements complained of

 2            herein as they were identified by photo image throughout the world, and each of the statements was

 3            interpreted by their friends, family and associates as about them personally.

 4        150. KING’s communication was false and defaming as he accuses DOES 1-10, of overt racism and taunting

 5            and weak and despicable behavior – none of which was exhibited. This comment is deliberately directed

 6            against DOES 1-10, all minors, and communicated to 1.1 million third parties without privilege, knowing

 7            DOES 1-10 were from Covington, Kentucky, with the intent to negatively influence the opinion of DOES

 10           1-10 in their school, their community, and the nation at large.

 9        151. KING’s communication injured DOES 1-10 as it disgraced and degraded the plaintiffs and held them up to

 10           public hatred, contempt, ridicule, and/or caused them to be shunned and avoided. In addition, KING’S

 11           false and defamatory communication caused DOES 1-10 special economic harm, including the increased

 12           cost of protecting their privacy and security from the threats derived from the social media mob KING

 13           helped lead, endangered their college admissions’ prospects, and limited their economic prospects and

 14           future earning power as adults.

 15                                             THIRTIETH CAUSE OF ACTION
                                                (INTRUSION UPON SECLUSION)
 16
                                                DOES 1-10 against SHAUN KING
 17
          152. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
110
              herein.
 19
          153. The Plaintiffs, all minors, had a right under Kentucky law to live their life in seclusion, without being
 20
              subjected to unwanted and undesired publicity, and a right to be left alone.
 21
          154. Pursuant to the case law in this state
 22
          155. , the Plaintiffs, all minors, had the right to be left alone, and not be subjected to scorn and the hateful
 23
              comments made by King.
 24
          156. As a result of King’s actions, Plaintiffs have been damaged in an amount to be proven at trial, in excess of
 25
              the jurisdiction of this Court.
 26

 27

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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 32
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 1                                       THIRTY-FIRST CAUSE OF ACTION
                                 (NEGLIGENT INFLICATION OF EMOTIONAL DISTRESS)
 2
                                               DOES 1-10 against SHAUN KING
 3
          157. DOES 1-10 reassert and incorporate by reference paragraphs the other paragraphs of this Complaint as if
 4
              fully restated herein.
 5
          158. Defendant King’s actions caused the Plaintiffs emotional distress, including but not limited to anxiety, fear
 6
              for their safety, and effected their educational activities.
 7
          159. As a result of Defendant King’s conduct, Plaintiffs have been damaged in an amount to be proven at trial,
 10
              in excess of the jurisdiction of the Court.
 9
                                           THIRTY-SECOND CAUSE OF ACTION
 10                                                 (DEFAMATION)

 11                                          DOES 1-10 against CLARA JEFFERY

 12       160. DOES 1-10 reasserts and incorporates by reference the other paragraphs of this Complaint as if fully

 13           restated herein.

 14       161. JEFFERY, known on Twitter as @ClaraJeffery, published to approximately 113,000 third parties, without

 15           privilege “The tapes that have emerged do show the BHI [Black Hebrew Israelites] doing their usual end-

 16           times ranting. But they also show the Covington Catholic kids: making cavemen gestures at BHI;

 17           tomahawk chanting at Natives; taunting random women; chants of "build the wall" and "it's not rape if you

110           enjoy it." A true and correct copy of said communication is attached hereto as Exhibit O. Jeffery omitted

 19           the true facts, and instead implied the following facts were true in her statements and the links attached

 20           thereto with the gist of the false statements made about the plaintiffs was that the kids interrupted an

 21           indigenous march, stopped and blocked a Native American elder and Vietnam War veteran from

 22           continuous participation in that event, surrounded him in a threatening manner, and taunted him, as a native

 23           American elder, with chants of “build the wall” to mock an elderly native American in the middle of an

 24           indigenous march, and falsely accused the plaintiffs of threatening women with chants of “it’s not rape if

 25           you enjoy it.” Each of the statements complained of herein was known by the friends, family and associates

 26           of each John Doe to be about them individually. Indeed, they were individually identified as the subject of

 27           the statements complained of herein that they received death threats, hate mail, threatening phone calls,

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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 33
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 1            threatening emails, and other personal attacks on them each individually. They were known to be the

 2            subject of the statements complained of herein as they were identified by photo image throughout the

 3            world, and each of the statements was interpreted by their friends, family and associates as about them

 4            personally.

 5        162. JEFFERY’s communication was false and defaming as she accuses DOES 1-10, of a number of actions

 6            not exhibited: making caveman gestures, taunting random women, chanting “build the wall” and saying

 7            “it’s not rape if you enjoy it.” This comment is deliberately directed against DOES 1-10, all minors, and

 10           communicated to [how many] third parties without privilege, knowing DOES 1-10 were from Covington,

 9            Kentucky, with the intent to negatively influence the opinion of DOES 1-10 in their school, their

 10           community, and the nation at large.

 11       163. JEFFERY’s communication injured DOES 1-10 as it disgraced and degraded the plaintiffs and held them

 12           up to public hatred, contempt, ridicule, and/or caused them to be shunned and avoided. In addition,

 13           JEFFERY’S false and defamatory communication caused DOES 1-10 special economic harm, including

 14           the increased cost of protecting their privacy and security from the threats derived from the social media

 15           mob JEFFERY helped lead, endangered their college admissions’ prospects, and limited their economic

 16           prospects and future earning power as adults.

 17                                          THIRTY-THIRD CAUSE OF ACTION
                                              (INTRUSION UPON SECLUSION)
110
                                              DOES 1-10 against CLARA JEFFERY
 19
          164. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
 20
              herein.
 21
          165. The Plaintiffs, all minors, had a right under Kentucky law to live their life in seclusion, without being
 22
              subjected to unwanted and undesired publicity, and a right to be left alone.
 23
          166. Pursuant to the case law in this state, the Plaintiffs, all minors, had the right to be left alone, and not be
 24
              subjected to scorn and the hateful comments made by Jeffery.
 25
          167. As a result of Jeffery’s actions, Plaintiffs have been damaged in an amount to be proven at trial, in excess
 26
              of the jurisdiction of this Court.
 27

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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 34
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 1                                      THIRTY-FOURTH CAUSE OF ACTION
                                 (NEGLIGENT INFLICATION OF EMOTIONAL DISTRESS)
 2
                                             DOES 1-10 against CLARA JEFFERY
 3
          168. DOES 1-10 reassert and incorporate by reference paragraphs the other paragraphs of this Complaint as if
 4
              fully restated herein.
 5
          169. Defendant Jeffery’s actions caused the Plaintiffs emotional distress, including but not limited to anxiety,
 6
              fear for their safety, and effected their educational activities.
 7
          170. As a result of Defendant Jeffery’s conduct, Plaintiffs have been damaged in an amount to be proven at trial,
 10
              in excess of the jurisdiction of the Court.
 9
                                            THIRTY-FIFTH CAUSE OF ACTION
 10                                                 (DEFAMATION)

 11                                          DOES 1-10 against JODI JACOBSON

 12       171. DOES 1-10 reasserts and incorporates by reference the preceding paragraphs of this Complaint as if fully

 13           restated herein.

 14       172. JACOBSON, the president and editor in chief of the website Rewire.News, authored an article published

 15           on Jan. 22, 2019 on Rewire.News titled “White-Washing White Supremacy: Media Rushes to Excuse

 16           Covington Catholic Students.” A true and correct copy of said communication is attached hereto as Exhibit

 17           Q. Jacobson omitted the true facts, and instead implied the following facts were true in her statements and

110           the links attached thereto with the gist of the false statements made about the plaintiffs was that the kids

 19           interrupted an indigenous march, stopped and blocked a Native American elder and Vietnam War veteran

 20           from continuous participation in that event, surrounded him in a threatening manner, and taunted him, as a

 21           native American elder, with chants of “build the wall” to mock an elderly native American in the middle of

 22           an indigenous march, and falsely accused the plaintiffs of threatening women with chants of “it’s not rape

 23           if you enjoy it.” Each of the statements complained of herein was known by the friends, family and

 24           associates of each John Doe to be about them individually. Indeed, they were individually identified as the

 25           subject of the statements complained of herein that they received death threats, hate mail, threatening phone

 26           calls, threatening emails, and other personal attacks on them each individually. They were known to be the

 27           subject of the statements complained of herein as they were identified by photo image throughout the

210
       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 35
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 1            world, and each of the statements was interpreted by their friends, family and associates as about them

 2            personally.

 3        173. JACOBSON’S communication was false and defaming as she accuses DOES 1-10, of a number of actions

 4            not exhibited: racism, being aggressive and disrespectful to Nathan Phillips, harassing young women,

 5            saying “it’s not rape if you enjoy it.” These comments were deliberately directed against DOES 1-10, all

 6            minors, and communicated to [how many] third parties without privilege, knowing DOES 1-10 were from

 7            Covington, Kentucky, with the intent to negatively influence the opinion of DOES 1-10 in their school,

 10           their community, and the nation at large.

 9        174. JACOBSON’S article went on to make false statements about Covington Catholic High School, including

 10           erroneously claiming that the school’s students had worn blackface and body paint to caricature black

 11           students on the opposing team during basketball games.

 12       175. JACOBSON’S article injured DOES 1-10 as it disgraced and degraded the plaintiffs and held them up to

 13           public hatred, contempt, ridicule, and caused them to be shunned and avoided. In addition, JACOBSON’S

 14           false and defamatory communication caused DOES 1-10 special economic harm, including the increased

 15           cost of protecting their privacy and security from the threats derived from the social media mob

 16           JACOBSON helped lead, endangered their college admissions’ prospects, and limited their economic

 17           prospects and future earning power as adults.

110                                          THIRTY-SIXTH CAUSE OF ACTION
                                              (INTRUSION UPON SECLUSION)
 19
                                              DOES 1-10 against JODI JACOBSON
 20
          176. DOES 1-10 reassert and incorporate by reference the other paragraphs of this Complaint as if fully restated
 21
              herein.
 22
          177. The Plaintiffs, all minors, had a right under Kentucky law to live their life in seclusion, without being
 23
              subjected to unwanted and undesired publicity, and a right to be left alone.
 24
          178. Pursuant to the case law in this state, the Plaintiffs, all minors, had the right to be left alone, and not be
 25
              subjected to scorn and the hateful comments made by Jacobson.
 26
          179. As a result of Jacobson’s actions, Plaintiffs have been damaged in an amount to be proven at trial, in excess
 27
              of the jurisdiction of this Court.
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       PLAINTIFFS’ AMENDED COMPLAINT WITH JURY DEMAND - 36
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 1                                     THIRTY-SEVENTH CAUSE OF ACTION
                                (NEGLIGENT INFLICATION OF EMOTIONAL DISTRESS)
 2
                                             DOES 1-10 against JODI JACOBSON
 3
          180. DOES 1-10 reassert and incorporate by reference paragraphs the other paragraphs of this Complaint as if
 4
              fully restated herein.
 5
          181. Defendant Jacobson’s actions caused the Plaintiffs emotional distress, including but not limited to anxiety,
 6
              fear for their safety, and effected their educational activities.
 7
          182. As a result of Defendant Jacobson’s conduct, Plaintiffs have been damaged in an amount to be proven at
 10
              trial, in excess of the jurisdiction of the Court.
 9
                                                            DAMAGES
 10
          183. False and Defamatory Accusations against the plaintiffs are defamatory per se, as they are libelous on their
 11
              face without resort to additional facts, and as clearly demonstrated here, DOES 1-10 were subjected to
 12
              public hatred, contempt, scorn, obloquy, and shame. The conduct of the plaintiffs, based on the false facts
 13
              the defendants placed and circulated into the court of public opinion, led to these lifetime labels on these
 14
              minors: “display of hate, disrespect and intolerance”; “heartbreaking”; “decency decayed”; “racist”; “cried
 15
              for America”; “infamous”; “gall”; “shameful”; “darker chapters”; compared to genocide; “laughing and
 16
              egging on” “hurtful” behavior; “awful”; “cavemen gestures”; “taunting”; ‘harassing”; “stalking”;
 17
              “mocking”; “bullies” who should be doxed, “named and shamed”, expelled from school, denied admission
110
              to college, be punched in the face, and their lives ruined.
 19
              WHEREFORE, Plaintiff respectfully prays:
 20
          184. That judgment be entered for each plaintiff against Defendants for damages in an amount not less than
 21
              $15,000 but not more than $50,000 against each defendant;
 22
          185. For a trial by jury.
 23
          186. For all costs and expenses, including reasonable attorneys fees.
 24
          187. That the Court grant all such other and further relief that the Court deems just and proper, including
 25
              declaratory and equitable relief.
 26

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  2    Respectfully submitted this   n   day of August, 2019.

  3

  4                                                             · Robert Bam~s (Motion Pro Hae   ice' to be filed)
                                                                  Barnes Law
  5                                                               Attorney for Plaintiffs

  6

  7
                                                                    vm L. Murphy (50646
 10                                                              Murphy Landen Jones PLLC
                                                                 2400 Chamber Center Drive, Suite 200
 9                                                               P.O, Box 17534
                                                                 Fort Mitchell, KY 41017
 10                                                              Attorney for Plaintiffs

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                                                          EXHIBIT A
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                                      CongrflSwom~n       Deb H "'""d            (   f,,[J-   J
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                             This Veteran put his life on he line for our
8                            country. The students' display of bla ant hate,
                             disrespec and intolerance is a signal of how
9                            common decency has decayed under this
                             administration. Heartbreaking.
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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 15
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                                                         EXHIBIT B
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4                                                                       ••
                              Must Watch: Native-American elder taunted
5                             by racist MAGA-hat wearing eens, speaks
                              and cries for America, the coun ry he
6                             defended and sacrificed and wore the
                              uni orm or. I is people hke athan Phil lips
7                             who mak America great.
                              Than you or yo r dignity,          sir.
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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 16
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                                 Sh    King .
3                                                            ~~ )
4                                I am so deeply grieved nd ang,y by his
                                 as young kids m MAGA ha s surrounded
5                                and mock d a belov d a 1v Am ncan
                                 elder yes erday.
6
                                 When your powe is centered in your
                                 whiteness. mocking o hers who are
7                                unli e you makes you feels rong

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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 17
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        Maggie Haberman
6         m1gg eNYT
7       White House corresponden for N Times. analyst for CNN RTs don' imply agreement.
        magg1e.haberman@nyt1m s.com
8

9
                M ggie H berm n (rumagg1 YT an '19                                                   V

10              When adults stand by and say nothing ....

11
                  Andrew Ujifus       a)Andr wUj1 usa
12                In another video from his now-Infamous incident involving Na ive
                  American Vietnam ve . a young person sco s at he idea of stolen land
13

14                "And y'all stole it from he aborig inals ... Land ge s stolen Tha 'show i ..
                  Show his hr     d
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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 18
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4             Andrew Ujifusa
                                                                     (    Follow    )     v
              @AndrewUjifusa

5
              In another video from this now-infamo us
6             incident involving a Native Ame rican
7             Vietnam vet, a young person scoffs at
              the idea of stolen land .
8

9             "And y'all sto le it from the aboriginals . ...
              Land gets stole n. That 's how it works. It's
10
              the way of the world ."
11

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16
                Video of Boys Mocking Native American Vet, Unchecked by Adu lts, ...
17              A group of young people were filmed taunting a Native Amencan man and
                military veteran who was participating in the Indigenous Peoples March.
18              biogs edWeeltorg


19            2:34 PM - 19 Jan 2019


20            204 Retweets 324 Likes


21            Q   11s     u    204     Q   324     El

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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 19
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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 21
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                 A Native American Vietnam Wa r ve eran was
6                seen being harassed and mocked by a group
                 of MAGA hat-wearing eens.
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                 huffln tonpcs corn/ n y rnaga - ha         .. via
8                @HuffPos

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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 22
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                               Maggie Haberman
                               @maggieNYT                                                                 V
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7                  There are dozens of students laughing and
8
                   egging on the behavior. Will be interesting to
                   see if anyone is actually expelled, as officials
9
                   suggest is possible
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17                   Viral Video Shows Boys in 'Make America Great Again' Hats Surrounding Nat.. .
                     Students from Covington Catholic High School in Kentucky appeared to surround the
18                   elder, Nathan Phillips, outside the Lincoln MemoriaL The high school has conde ...
                     nytimes com
19

20                 4:08 PM - 19 Jan 2019


21                 3, 144 Retweets 11 ,226 Likes


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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 23
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                                                                        EXHIBIT I
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                                  Eliz beth W rren •
                                                                                                      (     Rllfo      )   v
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                      Omaha elder and Vietnam War veteran
                      Nathan Phill ips endured hateful taunts with
6                     dign ity and strength, then urged us al l to do
7                     better.
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                      Listen to his words:
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                                           ,.       Spllnt11r e
10                                                  Na      l'hililps ,ould no be n   I   ida ed. Hear his re5ponse.


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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 24
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                                                            EXHIBIT J
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3                         Kathy Griffin                                                                V
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4
                     Ps. The reply from the school was pathetic
5
                     and impotent. Name these kids. I want
6                    NAMES. Shame them. If you think these
                     fuckers wouldn't dox you in a heartbeat, think
7
                     again.
8
                                        Kathy Griffin        thy9n ,n
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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 25
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                                                 EXHIBIT K
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                             thv    II n
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                     Names please. And stories from people who
7                    can identify them and vouch for their identity.
8                    Than k you.
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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 26
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                                                        EXHIBIT L
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                        Retract this libel @)a n v r ·o, or let us know
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                        where we can serve the lawsuit.
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                         and cnE.>s for America the country he de e ded a d sacnf1ced and wore the uniform
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                          or, It 1s pE.>Opte like   a   an    1lhps who make Amenca grea
                            han you or your d gnity, sir.            r.con,/Unc edClot in ...
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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 27
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5                                 Matthew Dowd
                                                                                     (   Follo   )   V

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7                      Folks, let us not let these kids, their parents,
8                      and their school off the hook. Regardless of
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                       what led up to this, this is awful. rusecu p
                       @Jo nJHar\ ood
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11                       Aprll DRyan       A nl
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                       11 PM 21 J n 2019
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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 28
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                                         Clara J ff ry
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7                                        The tapes that have emerged do show
8
                                         the BHI doing their usual end-times
                                         ranting. But they also show the
9                                        Covington Catholic kids:
                                         * m king cavemen gestures at BHI
10
                                         *tomahawk chanting at Natives
11                                        taunting random women
12
                                          chan s of "build the wall" and "it's no
                                         rape if you enjoy it"
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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 29
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                                     No, he accusation was that this kid and his
10                                   friends mocked an elderly Native American
                                    war veteran and, hey, they did.
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12                                  They a lso taunted women and shou ed "it's
                                    not rape if you enjoy it" but sure, they're the
13
                                    real victims. According to his PR firm anyway.
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      PLAINTIFFS’ COMPLAINTWITH JURY DEMAND - 30
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